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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

____________________________________
                                     )
IN RE:                               )               Case No. 16-cv-8637
                                     )
       BROILER CHICKEN ANTITRUST )                   Judge Thomas M. Durkin
       LITIGATION                    )               Magistrate Judge Jeffrey T. Gilbert
                                     )
This Document Relates to All Actions )
____________________________________)


                               THE UNITED STATES’
                    MOTION TO INTERVENE AND STAY DISCOVERY

         The government respectfully seeks leave to intervene in the above-captioned matter

under Federal Rule of Civil Procedure 24, and moves for an initial six-month, limited stay of

discovery. The government further requests an immediate stay of discovery while this motion is

pending.

         For the reasons stated below and discussed in the attached ex parte declaration (“Koenig

Declaration”), a limited stay is needed to protect the grand jury’s investigation. The government

recognizes the maturity of discovery in this well-publicized case and the Court’s substantial

investment of resources to keep the case moving forward in a timely fashion. Nevertheless, the

investigation has reached a point, see Koenig Decl. ¶ 6, where the government’s interests now

warrant a temporary and tailored discovery stay. Specifically, the government requests a 6-

month stay of depositions and non-evidentiary written discovery (i.e., written discovery beyond,

for example, a request for admission that particular documents are business records) of the

defendants and their current and former employees. The government does not request a stay of

any remaining document discovery or depositions of plaintiffs or third parties (except third
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parties who are the defendants’ former employees), but asks the Court to order that no party may

use civil discovery to seek information regarding the grand jury’s investigation.

                                           ARGUMENT

       For the reasons that follow, the Court should grant both the government’s motion to

intervene and the government’s motion to stay discovery. 1

                                        Motion to Intervene

       Federal Rule of Civil Procedure 24 provides two avenues for the government to intervene

in this matter, both of which lead to the conclusion that intervention should be permitted. Rule

24(a)(2) allows for “intervention of right” in an action if (1) the application to intervene is

timely, (2) the applicant has an interest in the subject matter of the action, (3) disposition of the

action may impede the applicant’s ability to protect that interest, and (4) the applicant’s interest

is not adequately represented by existing parties to the litigation. Sec. Ins. Co. of Hartford v.

Schipporeit, Inc., 69 F.3d 1377, 1380 (7th Cir. 1995). The requirements for intervention of right

are construed “liberally” and doubts are resolved “in favor of allowing intervention.” Michigan

v. U.S. Army Corps of Engineers, No. 10-cv-4457, 2010 WL 3324698, at *2 (N.D. Ill. Aug. 20,

2010). Rule 24 also allows for “permissive intervention” where a would-be intervenor “has a

claim or defense that [it] shares with the main action a common question of law or fact.” Fed. R.

Civ. P. 24(b)(1)(B).




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        Prior to filing this motion, the government conferred with liaison counsel for the group of
defendants and the various plaintiff groups. None of the groups object to the government
intervening in this matter. The end-user consumer plaintiffs object to a 6-month stay, but none
of the other groups have taken a position on the 6-month stay (meaning they may or may not
object). The defendants, the indirect-purchaser plaintiffs, and the end-user consumer plaintiffs
do not object to the entry of a temporary stay during the pendency of this motion. The direct-
purchaser plaintiffs and the direct-action plaintiffs have not taken a position on a temporary stay
(meaning they may or may not object).
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       Intervention of Right: The government meets all four requirements for intervention of

right under Rule 24(a)(2).

       First, the motion to intervene is timely. A timeliness determination should account for

the totality of the circumstances and consider such factors as “(1) the length of time the

intervenor knew or should have known of his interest in the case; (2) the prejudice to the original

parties caused by the delay; (3) the resulting prejudice to the intervenor if the motion is denied;

and (4) any unusual circumstances.” South v. Rowe, 759 F.2d 610, 612 (7th Cir. 1985). In this

case, two of those considerations—length of notice and unusual circumstances in favor of

intervention—are not addressed here but are instead addressed ex parte, Koenig Decl. ¶¶ 5-11,

due to the restrictions imposed by Federal Rule of Criminal Procedure 6(e). Both militate in

favor of intervention.

       Likewise, the other two timeliness considerations—prejudice to existing parties and

prejudice to the intervenor—each favor permitting the government to intervene. Prejudice to

existing parties is measured in “non-monetary” terms and “the only ‘prejudice’ that is relevant

under this factor is that which flows from a prospective intervenor’s failure to intervene after he

knew, or reasonably should have known, that his interests were not being adequately

represented—and not from the fact that including another party in the case might make

resolution more difficult.” Smith v. L.A. Unified Sch. Dist., 830 F.3d 843, 857 (9th Cir. 2016)

(internal quotation marks and alterations omitted). As discussed ex parte, the government

moved to intervene quickly, Koenig Decl. ¶¶ 5-6, and, as a result, it is difficult to fathom that the

small amount of time it took to assemble this motion will result in any prejudice to existing

parties. By contrast, it is apparent that the government and the grand jury’s investigation would

be significantly prejudiced were this motion to intervene denied. See id ¶¶ 9, 11.



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       Second and third, the government has a significant interest in ensuring the integrity of the

grand jury’s investigation and, if charges are filed, minimizing the extent to which civil

discovery can be used to circumvent criminal discovery. See SEC v. Salis, No. 16-cv-231, 2016

WL 7239916, at *2 (N.D. Ind. Dec. 14, 2016). Indeed, the Antitrust Division often seeks to

intervene in such situations where a criminal investigation is proceeding in parallel with a civil

class action, and does so successfully. See, e.g., In re Generic Digoxin & Doxycycline Antitrust

Litig., No. 2:16-md-02724-CMR, ECF No. 108 (E.D. Pa. Jan. 6, 2017) (Order granting the

United States’ Mot. to Intervene); In re Flash Memory Antitrust Litig., No. 4:07-cv-00086-SBA,

ECF No. 212 (N.D. Cal. Oct. 23, 2007); In re TFT (Flat Panel) Antitrust Litig., No. 3:07-md-

01827-SI, ECF No. 217 (N.D. Cal. Jul. 10, 2007); In re Static Random Access Memory (SRAM)

Antitrust Litig., No. M:07-cv-1819-CW, ECF No. 198 (N.D. Cal. Jun. 5, 2007). Other

Department of Justice components have done so when confronted with similar situations. See

SEC v. Fleming, No. 17-cv-7049, ECF No. 32 (N.D. Ill. Nov. 20, 2017) (USAO successfully

intervening and staying discovery in civil case brought by SEC pending resolution of criminal

insider trading charges); CFTC v. Zhao, No. 1:18-cv-620, ECF No. 26 (N.D.Ill. Oct. 16, 2018)

(granting DOJ Criminal Division, Fraud Section’s motion to intervene and stay discovery in civil

action brought by CFTC pending resolution of fraud, spoofing, and false statement charges);

Eastwood Enters., LLC v. Farha, No. 8:07-CV-1940-T-33EAJ, ECF No. 220 (M.D. Fla. May 13,

2010) (summarily permitting the government to intervene “insofar as it [sought] to stay

discovery in [the] matter”).

       Fourth, none of the parties to this litigation adequately represent the government’s

interests. The defendants clearly do not because their interest in defending the alleged conduct at

issue is diametrically opposed to the government’s interest in investigating and possibly

prosecuting the same or similar conduct. Nor do the plaintiffs, notwithstanding the fact that their
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interests are more closely aligned with the government’s interests. In Salis, for example, where

the government sought to intervene in a civil matter brought by the Securities and Exchange

Commission, the court explained: “although both agencies represent the interests of the United

States, the SEC’s and the DOJ’s interests are different, and the SEC can’t be expected to protect

the interests of the DOJ.” Id. at *3. If the SEC is unable to protect the government’s

investigatory and prosecutorial interests, then private plaintiffs certainly cannot.

        Accordingly, the Court should permit the government to intervene as a matter of right

under Rule 24(a)(2).

        Permissive Intervention: In the alternative, the Court should permit the government to

intervene under Rule 24(b)(1)(B). As discussed above, the motion is timely. And the

government’s ex parte submission adequately demonstrates that this litigation shares “common

question[s] of law or fact,” Rule 24(b)(1)(B), with the grand jury investigation. Koenig Decl.

¶¶ 5-11.

                                     Motion to Stay Discovery

        This Court has the inherent power to stay civil proceedings pending the completion of a

criminal proceeding “if the interests of justice require it.” Chagolla v. City of Chicago, 529 F.

Supp. 2d 941, 945 (N.D. Ill. 2008) (citing United States v. Kordel, 397 U.S. 1, 12 n.27 (1970));

see also Landis v. N. Am. Co., 299 U.S. 248, 254-55 (1936); Jenny’s Uniforms, Inc. v. AMCO

Ins. Co., No. 16-cv-0113, 2016 WL 5394392, at *1 (S.D. Ill. 2016) (citing Kordel, 397 U.S. at 12

n.27) (“[I]t is within a district court’s discretion to stay civil proceedings, postpone civil

discovery, or impose protective orders and conditions on discovery when there are criminal

proceedings occurring at the same time as a related civil proceeding.”).

        Courts in the Seventh Circuit and elsewhere examine several factors to determine

whether a stay of civil proceedings in these circumstances is warranted. Though the factors vary
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in numbers and formulations from case to case, and are not exhaustive, they generally include

the following:

       (1)        the effect on the public interest of granting or denying a stay;
       (2)        the effect on the trial court and the efficient use of judicial resources;
       (3)        whether the civil and criminal matters overlap;
       (4)        whether the governmental entity that has initiated the criminal case or
                  investigation is also a party in the civil case;
       (5)        the posture of the criminal proceeding;
       (6)        the interest of the civil plaintiff in proceeding expeditiously, and the potential
                  prejudice the plaintiff may suffer from a delay; and
       (7)        the burden that any particular aspect of the civil case may impose on defendants if
                  a stay is denied.

See, e.g., Cruz v. City of Chicago, No. 08-cv-2087, 2011 WL 613561, at *2 (N.D. Ill. Feb. 15,

2011); Clark v. Djukic, No. 14-cv-160, 2014 WL 6674610, at *1-*2 (N.D. Ind. Nov. 25, 2014)

(Cherry, M.J.).

       Public Interest: Of all the factors above, the public’s interest in effective criminal law

enforcement—and hence the government’s interest in protecting the integrity of the grand jury’s

investigation and subsequent charges—should be afforded the most weight. See Benevolence

Int’l Found., Inc. v. Ashcroft, 200 F. Supp. 2d 935, 941 (N.D. Ill. 2002) (citing Campbell v.

Eastland, 307 F.2d 478, 487 (5th Cir. 1062)). Although the public also has an interest in the

“prompt disposition of civil litigation,” Chagolla v. City of Chicago, 529 F. Supp. 2d 941, 946-

47 (N.D. Ill. 2008), that interest is generally outweighed by the public’s interest in effective

criminal law enforcement, see id. And in this case, the nature and scope of the conduct under

investigation by the grand jury, as well as the risks to the investigation of on-going civil

discovery is more than sufficient for the public-interest factor to favor a stay. See Koenig Decl.

¶¶ 7-11.

       Judicial Resources and Overlap: Closely related and also very important is the effect of a

stay on the Court and the efficient use of judicial resources. Where there is substantial overlap


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between the civil and criminal matters, staying discovery in the civil matter promotes efficient

use of judicial resources because “resolution of the related criminal matter may eliminate much

of the Court’s work in the civil action by simplifying the issues” and prevents discovery from

becoming “bogged down” with “a long series of Fifth Amendment assertions.” United States v.

All Meat & Poultry Prods., No. 02-cv-5145, 2003 WL 22284318, at *5 (N.D. Ill. Oct. 2, 2003)

(Bobrick, M.J.).

       Here, there is very substantial overlap between the civil and criminal matters. Although

the requested stay may cause some short-term delay, granting the stay and allowing the grand

jury investigation and any subsequent charges to streamline the Court’s workload may

significantly enhance judicial economy. That is especially true in the context of criminal

antitrust enforcement, where a judgment against a defendant is “prima facie evidence against

such defendant in any action or proceeding brought by any other party.” 15 U.S.C. § 16(a).

       Whether the Government is a Party: Another factor for the Court to consider is whether

the government is a party to the civil action and, as a result, might “use the civil discovery

process to circumvent the limitations on discovery in criminal proceedings.” Hare v. Custable,

No. 07-cv-3742, 2008 WL 1995062, at *2 (N.D. Ill. May 6, 2008). In several cases, where the

government, as here, is not a party to the civil action and therefore cannot use civil process to

circumvent criminal discovery, courts have held that factor against granting a stay. See, e.g., id.

However, the government submits that its status as a non-party in this matter should not weigh

one way or the other—it is simply a non-factor.

       Posture of the Criminal Proceeding: A pre-indictment stay is appropriate. Although

courts are sometimes reluctant to grant a stay before any charges have been filed due to the

uncertain length of criminal investigations, see, e.g., All Meat & Poultry Prods., 2003 WL

22284318, at *5, the pre-indictment status of the investigation is merely a consideration, not a
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compete bar. In numerous cases, courts have granted discovery stays before the grand jury has

indicted anyone. See, e.g., SEC v. Chestman, 861 F.2d 49, 50 (2d Cir. 1988); SEC v. Offhill, No.

3:07-cv-1643-D, 2008 WL 958072, at *3 (N.D. Tx. Apr. 9, 2008); Chao v. Fleming, 498 F.

Supp. 2d 1034, 1038-39 (W.D. Mich. 2007); Ashworth v. Albers Medical, Inc., 229 F.R.D. 527,

533 (S.D.W. Va. 2005); Jones v. City of Indianapolis, 216 F.R.D. 440, 451-52 (S.D. Ind. 2003);

Walsh Securities Inc. v. Cristo Property Management, Ltd., 7 F.Supp.2d 523, 527-28 (D.N.J

1998); SEC v. Downe, No. 92-cv-4092 1993 WL 22126, at *13 (S.D.N.Y. Jan. 26, 1993);

Brumfield v. Shelton, 727 F. Supp. 282, 284 (E.D. La 1989); Brock v. Tolkow, 109 F.R.D. 116,

119 (E.D.N.Y. 1985). In fact, courts in other districts have found that “when the government

seeks a stay of civil discovery, the justification for obtaining the stay is often strongest before an

indictment is handed down.” Offhill, 2008 WL 958072, at *3 (emphasis added); see also Lee v.

Ackal, No. 15-cv-00754, 2016 WL 1690319, at *3 (W.D. La. Apr. 25, 2016); Tajonera v. Black

Elk Energy Offshore Operations, LLC, No.13-cv-0366, 2015 WL 893447, at *9 (E.D. La. Mar. 2,

2015); Warren v. Geller, No. 11-cv-2282, 2013 WL 1455688, at *9 (E.D. La. Apr. 9, 2013).

       In this case, a pre-indictment stay is appropriate because—unlike many open-ended stays

that endure until the conclusion of the criminal matter—the government is seeking only a 6-

month stay with limited scope. Moreover, the government is committed to working

expeditiously toward charging decisions. At the end of six months, the government will be in a

position to provide the Court with a status update and request that the stay be modified,

extended, or lifted.

       Plaintiffs’ Interest in Proceeding Expeditiously: As previously discussed with respect to

judicial economy, resolution of the criminal case could narrow the scope of this civil litigation,

which would benefit all parties, including plaintiffs, and therefore weighs in favor of a stay. See,

e.g., Emich Motors Corp. v. Gen. Motors Corp., 340 U.S. 558, 568 (1951) (“It is well established
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that a prior criminal conviction may work an estoppel in favor of the [plaintiff] in a subsequent

civil proceeding.”); In re Worldcom, Inc. Sec. Litig., No. 02-cv-3288, 2002 WL 31729501, at *8

(S.D.N.Y. Dec. 5, 2002) (“The conviction of a civil defendant as a result of the entry of a plea or

following a trial can contribute significantly to the narrowing of issues in dispute in the

overlapping civil cases and promote settlement of civil litigation.”).

       Burden on Defendants: This factor weighs in favor of a stay, as well. Denying a stay

would impose a burden on the subjects of the criminal investigation in at least two significant

respects. First, it would force subjects to defend two cases simultaneously. 2 Second, denying a

stay of discovery in this action would force subjects to choose between invoking their Fifth

Amendment right against self-incrimination and risking that any such invocation would be used

as a basis for an adverse inference in this civil case, or testifying or otherwise responding to civil

discovery and having their responses used against them in the criminal case. See Chagolla, 529

F. Supp. 2d at 947 (“A civil defendant in this situation who is effectively backed into a corner in

which he has no viable choice but to claim the privilege is forced to face a significant risk of

unfair prejudice that may be virtually impossible to remedy.”); Harris v. City of Chicago, 266

F.3d 750, 753 (7th Cir. 2001) (“[T]he Fifth Amendment does not forbid adverse inferences

against parties to civil actions when they refuse to testify in response to probative evidence

offered against them.”) (citation omitted). Granting the stay would mitigate that dilemma. 3



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        Because the government only requests a partial stay, there may still be some residual
defending of two cases simultaneously. However, given the nature of the stay—mostly
discovery of the defendants—that concern would be considerably lessened.
3
        The dilemma is far from hypothetical. The docket in this matter reflects recent activity
seeking to amend the deposition protocol based on 5th Amendment assertions, and in one of the
briefs the end-user consumer plaintiffs said that “[a] grand jury investigation into Defendants’
conduct has increased the likelihood that witnesses in this civil case will refuse to answer
substantive questions during depositions and instead assert their Fifth Amendment privileges.”
Reply in Supp. of Pls.’ Mot. to Am. Dep. Protocol Order 1, ECF No. 2254. They also said, “the
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                                        CONCLUSION

       For the foregoing reasons, the government’s motion should be granted.



                                             Respectfully submitted,

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Department of Justice investigation appears to be gaining traction, as evidenced by the recent
subpoena.” Id. at 4.
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